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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                           SOUTH BEND DIVISION

 UNITED STATES OF AMERICA                 )
                                          )
             vs.                          )     Cause No.    3:12-CR-128(2) RLM
                                          )
 TIMOTHY WHITFIELD                        )

                              OPINION AND ORDER

       Timothy Whitfield pleaded guilty to violations of 18 U.S.C. 924(c) and

 1962(c) in May 2013 and was sentenced to an aggregate term of 320 months. His

 sentence was reduced to 236 months in February 2015, and an amended

 judgment was entered at that time. Mr. Whitfield requested and received copies

 of the August 23, 2013 sentencing memorandum and docket sheet in 2014, before

 his sentence was modified, and filed a second request for copies of the

 memorandum, docket sheet, and “other important documents”, after the amended

 judgment was entered.

       Mr. Whitfield waived his right to appeal his conviction and sentence and to

 file a post-conviction proceeding in his plea agreement and hasn’t identified which

 documents he deems “important,” but the court GRANTS his request in all other

 respects and DIRECTS the Clerk to send Mr. Whitfield copies of the court’s August

 23, 2013 sentencing memorandum [Doc. No. 243], the amended judgment entered

 on February 12, 2015 [Doc. No. 314] and an updated docket sheet.

       SO ORDERED.

       ENTERED:      November 19, 2015
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                                /s/ Robert L. Miller, Jr.
                              Judge
                              United States District Court




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